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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,
      vs.                                                     Case No. 18-cr-152

JEREMY J. RYAN,

                    Defendant.


                MOTION TO MODIFY CONDITIONS OF RELEASE

      Jeremy Ryan, by counsel, files this motion to modify his conditions of supervised

release. Given the substance of this motion and the urgent nature, I have emailed the

government and probation on this, but I have not heard back their respective positions.

      One of Ryan’s supervised release conditions was that he had to be at a halfway

house for six months. Last night, he was asked to leave. The reason (I am told) stems from

his Facebook posts commenting on and criticizing the halfway house for its response to

COVID-19. All three posts are attached as Exhibit A. In addition to expressing concern

for the treatment of all those at the halfway house, Ryan relates that he is showing

symptoms consistent with COVID-19 and hopes to be tested today. The bottom line is

that Ryan is now homeless, he has few resources, and in the midst of this crisis, he has

few options.

      Thus, the defense would respectfully request that the Court modify his conditions,

so he can travel to Michigan and stay with his father, who is a veteran, has no record, and

has been very supportive of his son. This would not be permanent, it would just allow

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him a stable place until the COVID crisis abates and things can be sorted out. This is not

an easy time for anyone, let alone someone who is now homeless and with few options

in Wisconsin. If the Court fears that Ryan would simply abscond, the Court could make

it a condition that for the time being he have a GPS monitor. In the end, the defense simply

doesn’t want Ryan to be homeless and given that he might be infected, few are going to

want him around. With few options, this is the best we have.

       Dated at Madison, Wisconsin this 19th day of March, 2020.

                                          Respectfully submitted,

                                          Jeremy J. Ryan, Defendant

                                          /s/Joseph A. Bugni
                                          Joseph A. Bugni

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